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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA,                      :

      Plaintiff,                               :

v.                                             :       Civil Action No. GLR-16-810

J.A. SUBWAY, INC., et al.                         :

      Defendants.                              :

                                              ORDER

      Today,       the     Court      held    a       show     cause        hearing      regarding

Defendant        Jamiu     Lawal’s        failure       to     comply       with    the    Court’s

September        23,    2016    Default       Judgment         and     Order       for   Permanent

Injunction (ECF No. 15).                  For the reasons stated on the record

in open court, it is this 24th day of July, 2017 hereby:

      ORDERED that today’s show cause hearing is CONTINUED until

Wednesday, August 30, 2017 at 2 p.m.;

      IT     IS    FURTHER          ORDERED       that        Lawal     appear       before    the

Honorable         George       L.    Russell,          III      at     the     United       States

Courthouse, 101 West Lombard Street, Baltimore, Maryland, 21201

on August 30, 2017 at 2:00 p.m. to show cause why he should not

be   held    in    contempt         for   failing        to    comply       with     the   Court’s

September 23, 2016 Order (ECF No. 15);

      IT IS FURTHER ORDERED that Lawal shall consult with the

Office      of    the    Federal      Public          Defender        for    the    District   of

Maryland to determine whether he is eligible for the Office’s

representation in this matter;
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       IT IS FURTHER ORDERED that within 14 days of the date of

this Order, Lawal shall notify the Court whether he will proceed

with   counsel    from   the   Federal   Public   Defender’s    Office   or

private counsel, or whether he will be proceed without counsel;

and

       IT IS FURTHER ORDERED that within 5 days of the date of

this Order, Plaintiff United States of America personally serve

a copy of this Order on Lawal and provide the Court with an

affidavit of personal service;

       IT IS FURTHER ORDERED that no later than 7 days before the

August 30, 2017 hearing, the parties shall submit a joint status

report.

                                               /s/
                                   ____________________________
                                   George L. Russell, III
                                   United States District Judge




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